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13                             UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of          DECLARATION OF S
   themselves and all others similarly situated,           M         IN SUPPORT OF
17               Plaintiffs,
                                                           PLAINTIFFS’ MOTIONS FOR
                                                           PRELIMINARY INJUNCTION
18        v.                                               AND PROVISIONAL CLASS
                                                           CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4317829 3]
       DECLARATION OF S         M         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, S     M          , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs' Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I am incarcerated in federal prison and am presently incarcerated at FCI
 6 Dublin. I have been here since 2017, and my release date is in April 2025. In the past I
 7 was incarcerated by the Bureau of Prisons (BOP) at FCI Danbury, FMC Carswell, and FCI
 8 Tallahassee. In the future BOP may transfer me to other BOP facilities but at any point I
 9 could be transferred back to FCI Dublin.
10                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
11 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
12 and put myself and other incarcerated persons at substantial risk of serious harm from
13 sexual assault, harassment, and retaliation from staff.
14                 4.     I have been at FCI Dublin for six years, and I have seen a lot. I’ve overheard
15 people being sexually abused and trying to resist officers, have watched as those who
16 spoke up were transferred to other facilities, and have witnessed guards abuse people even
17 when they are on suicide watch.
18                 5.     While at FCI Dublin, I witnessed sexual abuse by multiple staff people, and I
19 have faced some retaliation for reporting. Officer Saucedo would harass someone I was
20 incarcerated with, who we called S                B        In 2021, I overheard her say to him, “I’m
21 not putting my hands on your dick.” Right after that, she came into my cell crying. I went
22 to Putnam to tell him, and he said he would talk to Officer Saucedo but later I overheard
23 Lt. Putnam tell S              B    , “just give him some, and he’ll leave you alone” which made
24 me think he wasn’t going to do anything. Because I believed S                   B    could not get
25 help at FCI Dublin or be safe here, I helped put in a transfer request so she could get away
26 from the abuse and she was ultimately transferred.
27                 6.     I worked in psychology as a part of the Suicide Watch Cadre and mental
28 health companion. We are trained quarterly to recognize signs of depression and mental
     [4317829 3]                                          1
       DECLARATION OF S               M         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1 illness and I and helped monitor people on suicide watch, working a four hour shift several
 2 the times a week logging everything that happens and try to get help if we see something
 3 concerning. While I was working Guards would still come and abuse women while they
 4 were on suicide watch. They would tell us to leave the area so that we wouldn’t see them.
 5 Officers would open the door when they did not need to and could have provided items
 6 through the slot in the door even when women were in distress and barely clothed. I once
 7 saw Lt. Putnam enter a room where a young Latina woman was in a suicide smock where
 8 she was naked underneath. She dropped the smock so she was naked and put her arms
 9 around him to give him a big hug and “fix me, daddy.” I remember this because it was so
10 shocking and he did not need to open the door in the first place. When he saw me standing
11 there told me to get out. I later saw that Lt. Putnum gave this woman a job on the yard and
12 she was always in his office. I also saw Officers Klinger, Bellhouse, and Warden Garcia
13 go in to see people on suicide watch when they did not seem to need to be there. It seemed
14 inappropriate to me because psychology should have been meeting with women on suicide
15 watch, not the Warden and Officers.
16                 7.   I have faced retaliation for reporting the abuse I witnessed. At the beginning
17 of this year, after I started meeting with OIG and the FBI, I heard I might be transferred
18 somewhere; that was when I called legal counsel, and also got a medical hold from dental
19 not to transfer me while I had major dental work ongoing here. No one mentioned where
20 they wanted to transfer me, but I was worried I would be sent to FCI Waseca, because they
21 sent a group there before after they reported incidents of sexual misconduct. I did not want
22 to be transferred because this is the closest place to my children. After I emailed OIG my
23 room was searched I felt this was retaliation for sending the email and it scared me. SIS
24 Putnum also came by my room right after I emailed OIG. Approximately two days later
25 another incarcerated person gave me the number for people at the FBI and I spoke to
26 people and told them my room was searched and Lt. Putnum came to my door right after I
27 emailed OIG. That night, after I spoke to the FBI, my computer was locked and it said my
28 account had been closed for administrative purposes but no one else’s account was shut
     [4317829 3]                                       2
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 1 down. It seemed to be locked overnight because it worked the next day.
 2                 8.    When I arrived at FCI Dublin in 2017 I was not provided adequate training
 3 and information about how to respond to sexual abuse. At that point I was not informed
 4 about PREA. We had a training on mold and asbestos, but no PREA training. It was not
 5 until around 2018 that the facility started putting up informational posters about PREA.
 6                 9.    There is no effective way to confidentially report sexual assault and abuse by
 7 staff at FCI Dublin. I’ve never reported to anyone at FCI Dublin besides Dr. Hoang.
 8 Right after I emailed OIG to report what I had witnessed, I was locked out of my
 9 CorrLinks. I believe an officer must have seen me emailing, since the computer is visible
10 to others, and gotten me locked out. I know it was not a technical issue because I did not
11 see anyone else have that problem. I know that Officer Klinger would read people’s mail.
12 There is a phone number for a hotline on each unit, for reporting abuse, and people were
13 using it, but it was shut off years ago and I don’t know if it works now.
14                 10.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
15 by staff and retaliate against people who do report. Everyone I know who reported the
16 abuse they suffered got shipped out to other facilities before employees took any leave. I
17 think there are other forms of retaliation too.
18                 11.   When incarcerated persons report sexual abuse by staff, FCI Dublin and
19 BOP do not seriously investigate the reports. Investigations are frequently delayed and
20 overseen by staff who know and work with the offending staff member, like when Putnam
21 said he would deal with Saucedo. Generally nothing happens as a result. I worked as a
22 mental health companion, so I would hear a lot from other incarcerated women who had
23 been abused and would tell the doctors about it to try to get them help. Whenever we did
24 this they would just say thank you for letting us know but nothing would happen except the
25 women would transferred or put into the SHU.
26                 12.   There is little to no confidential mental health care available to survivors of
27 sexual abuse and assault at FCI Dublin. This has not improved. FCI Dublin cycles
28 through psychologists very quickly, and some are here only a few months, and it seems
     [4317829 3]                                         3
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 1 like everything is erased every time. There used to be more programing for psych, but
 2 there’s no longer any programming. The current chief psychologist only specializes in
 3 suicide watch. Also, when I asked Dr. Hoang to call Tri-Valley Care in approximately
 4 December 2022 or January 2023 to discuss what has been going on at FCI Dublin he
 5 wouldn’t set up anything for the counseling call to be private.
 6                 13.   There is little to no medical care available to survivors or witnesses of sexual
 7 abuse and assault at FCI Dublin. I have received inadequate medical care at FCI Dublin. I
 8 have had knee problems for two years resulting from a dislocation. The last doctor was
 9 giving me pain medications and a brace. I also had two inhalers for asthma, and
10 osteoarthritis pills. Then, the MLP (mid-level provider/practitioner) at medical took
11 everything in January 2023 including my brace. Instead of giving me my prescribed two
12 asthma inhalers when I needed a refill and my arthritis medications, she told me to buy
13 Tylenol and allergy pills at commissary every week. I did not get my medications for four
14 months and only recently got my inhaler, cholesterol pills, and arthritis medication back. I
15 also believe my medical records contain inaccurate information and I have not been able to
16 get them to fix the errors which I am afraid is affecting my care.
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     [4317829 3]                                         4
       DECLARATION OF S              M         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                               INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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